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     Attorneys for plaintiffs (listing continues on following page)
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14                                   UNITED STATES DISTRICT COURT

15                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16                                                   )
      JENNY LISETTE FLORES, et al.,           ) Case No. CV 85-4544 DMG (AGRx)
17                                            )
18                  Plaintiffs,               ) RESPONSE TO NOTICE OF THE
                                              ) COURT RE: PROPOSED
19           - vs -                           ) MODIFICATION TO ORDER
20                                            ) APPOINTING SPECIAL
      WILLIAM P. BARR, ATTORNEY GENERAL ) MASTER/INDEPENDENT
21    OF THE UNITED STATES, et al.,           ) MONITOR
22                                            )
                    Defendants.               )
23                                        _ ) [HON. DOLLY M. GEE]
24                                                   )
                                                     )
25

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Case 2:85-cv-04544-DMG-AGR Document 531 Filed 03/21/19 Page 2 of 4 Page ID #:25957


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                                                     CV 85-4544-DMG (AGRX)
                                               ii
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1          Plaintiffs hereby give notice that they have no objection to the modifications to
2    the Order Appointing Special Master/Independent Monitor [Dkt. # 494] proposed by
3
     the Special Master/Independent Monitor in the Notice to the Court Re: Proposed
4

5    Modification to Order Appointing Special Master/Independent Monitor [Dkt. # 529].
6

7
     Dated: March 21, 2019                 Respectfully submitted,
8

9                                           CENTER FOR HUMAN RIGHTS &
                                            CONSTITUTIONAL LAW
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11                                          Carlos Holguín
12
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                                            LA RAZA CENTRO LEGAL, INC.
15                                          Michael Sorgen
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21
                                            YOUTH LAW CENTER
22
                                            Virginia Corrigan
23

24
                                            /s/Peter Schey ____________
25                                          Attorneys for Plaintiffs
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                                                1
                                                           CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 531 Filed 03/21/19 Page 4 of 4 Page ID #:25959


1                                 CERTIFICATE OF SERVICE
2

3          I, Peter Schey, declare and say as follows:
4          I am over the age of eighteen years of age and am a party to this action. I am
5
     employed in the County of Los Angeles, State of California. My business address is
6

7    256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
8
           On March 21, 2019 I electronically filed the following document(s):
9
        • RESPONSE TO NOTICE OF THE COURT RE: PROPOSED
10
          MODIFICATION TO ORDER APPOINTING SPECIAL
11        MASTER/INDEPENDENT MONITOR
12
     with the United States District Court, Central District of California by using the
13
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
14

15   served by the CM/ECF system.
16

17                                                              /s/Peter Schey
18                                                              Attorney for Plaintiffs
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                                                           CV 85-4544-DMG (AGRX)
